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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION


  UNITED STATES OF AMERICA
                                                                No. 2:15-CR-235(1)
         v.

                                                                JUDGE MICHAEL H. WATSON
  MARK A. EUBANKS


                                        PLEA AGREEMENT


         Plaintiff United States and the defendant, MARK A EUBANKS, hereby enter into the

  following Plea Agreement pursuant to Rule 11(c) of the Federal Rules of Criminal Procedure:

         1. The defendant, MARK A EUBANKS, will enter a plea of guilty to Count One of the

  Indictment: Conspiracy to Possess with Intent to Distribute One or More Kilograms of Heroin, in

  violation of 21 U.S.C. §§ 841(a)(1), (b)(l)(A)(i), and 846.

         2.   The defendant, MARK A EUBANKS, understands that the penalties that may be

  imposed pursuant to his plea of guilty Count One are as follows: a mandatory-minimum term of

  imprisonment often (10) years, upto life imprisonment; a fine of up to $10,000,000; and a term

  of supervised release, from a mandatory-minimum five (5) years up to life onsupervised release.

  MARK A. EUBANKS also acknowledges that due to the Information which was filed pursuant

  to 21 U.S.C. § 851(a)(1), hissentence will beenhanced for this conviction for Count One as set

  forth in 21 U.S.C. § 841(b). The parties agree that the Information filed, pursuant to 21 U.S.C.

  § 851(a)(1), outlining MARK A. EUBANKS' prior conviction in the Court of Common Pleas of
  Scioto County, Ohio Case No. 09-CR19I constitutes a single conviction for purposes of

  sentencing under 21 U.S.C. § 841(b)(l)(A)(viii) and 21 U.S.C. §851.

         3.    If such plea of guilty is entered, and not withdrawn, and the defendant, MARK A.
  EUBANKS, acts in accordance with all other terms of this agreement, the United States Attorney
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  for the Southern District of Ohio agrees not to file additional criminal charges against the

  defendant, based on his activities charged in the Indictment or based on other narcotics violations

  in the Southern District of Ohio and elsewhere occurring prior to the date of the Indictment and

  as to which the defendant gives testimony or makes statements pursuant to this agreement..

         4.   Prior to or at the time of sentencing the defendant, MARK A EUBANKS, will pay to

  the U.S. Department of Justice a special assessment in the amount of $100.00 as required in 18

  U.S.C. § 3013.    This assessment shall be paid by the defendant before sentence is imposed and

  he will furnish a receipt at the time of sentencing. The payment shall be made to the United

  States District Court, at the Clerk's Office, 85 Marconi Boulevard, Columbus, Ohio 43215.

         5.   By virtue of his guilty plea Count One, the defendant, MARK A EUBANKS,

  understands that he is not a prevailing party as defined by 18 U.S.C. § 3006A (statutory note

  captioned "Attorney Fees and Litigation Expenses to Defense") and hereby expressly waives his

  right to sue the United States.

          6. The defendant, MARK A EUBANKS, agrees to forfeit all right, title, and interest he

  has in the property described in theConsent Order attached as Exhibit A to this Plea Agreement,

  involving certain firearms, ammunition, and/or U.S. currency seized during the investigation in

  this case and possessed, used, and/or obtained directly or indirectly from the criminal activity

  alleged in the Indictment. The defendant agrees to execute the Consent Order of Forfeiture atthe

  time he enters his plea of guilty in accordance with this Plea Agreement. The defendant further

  agrees not to contest the judicial and/or administrative forfeiture of the properly set forth in the

  Consent Order, to assist the United States to resolve any third-party claims to the property, and

  waives any failure bythe Court to fully comply with the requirements in Federal Rule of Criminal

   Procedure 32.2(b)(4).
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         7. The defendant, MARK A EUBANKS, understands that this agreement does not

  protect him from prosecution for perjury, should he testify untruthfully, nor does it protect him

  from prosecution for other crimes or offenses which the United States discovers by independent

  investigation.   Further, should the defendant fail to comply fully with the terms and conditions

  set forth herein, this agreement is voidable at the election of the United States Attorney for the

  Southern District of Ohio, and the defendant may be subject to prosecution as if the agreement

  had never been made.


         8.    For sentencing purposes, the parties agree to make the following recommendations to

  the Court:

         (1) The United States Attorney for the Southern District of Ohio recommends that as of
         the time of the execution of this Plea Agreement, the defendant has accepted
         responsibility for the offenses to which he has agreedto plead guilty. If the defendant
         continues to accept responsibility through the time of sentencing, the United States will
         inform the Court, pursuant to U.S.S.G. § 3EI .1(b), that the defendant has timely notified
         authorities of his intention to pleadguilty and is entitled to a three-level reduction
          pursuant to U.S.S.G. § 3EI. I;

         (2) The United States agrees not to seek any upward departure or variance from the
         advisory guideline range as determined by the Probation Department.

         (6) The partiesagree that all provisions of this paragraph are not binding upon the
          District Court and that determination of all sentencing issues rests with the District Court.

          9.   The defendant, MARK A EUBANKS, is aware that, in light of United States v.

  Booker. 543 U.S. 220 (U.S. 2005), the United States Sentencing Guidelines arc advisory and are

  no longermandatory. The defendant is awarethat the Court hasjurisdiction and authority to

  impose any sentence within the statutory maximum set forth for the offense to which the

  defendant pleads guilty.   The defendant is aware that the Court has not yet determined a

  sentence. The defendant is further aware that any estimate of a probable sentencing range that

  the defendant may have received, or may receive in the future, from his counsel, the United

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  States, or the Probation Department is a prediction, not a promise, and is not binding on the

  United States, the Probation Department or the Court.      The United States makes no promise or

  representation concerning the sentence that the defendant will receive, and the defendant cannot

  withdraw his guilty plea based upon the actual sentence.

          10.   It is agreed that if the Court refuses to accept any provisions of this Plea

  Agreement, with the exception of the recommendations in paragraph 8, neither parly is bound by

  it. The defendant, MARK A EUBANKS, may withdraw his guilty plea, and the United Slates

  Attorney for the Southern District of Ohio may proceed with prosecution pursuant to the

  Indictment without prejudice.

          11.   No additional promises, agreements, or conditions have been made relative to this

  matter other than those expressly set forth herein, and none will be made unless in writing and

  signed by all parties.


  Date                                                   MARK A. EUBANKS
                                                         Defendant



    /^ S} To/6                                           KEITH YEA/EL           OoWITt
  Date
                                                         Attorney for Defendant



                                                         CARTER M. STEWART
                                                         United States Attorn




  Date          T                                         MICHAEL J. HUNTER (0076815)
                                                          Assistant U.S. Attorney



   2hk                                                    BRIAN J. MARTjNEZ (CA 224587)
   Date
                                                          Assistant U.S. Attorney
